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 4
 5   Attorney for Defendant
     ALEX LINDBERG
 6
 7                                       UNITED STATES DISTRICT COURT
 8                                  EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                     )              CASE NO.: 10-cr-00477-LKK
                                                   )
11                          Plaintiff,             )              ORDER RE WAIVER OF
                                                                  DEFENDANT’S
12                                                 )              PRESENCE
                                                   )
13   v.                                            )
                                                   )
14   ALEX LINDBERG,                                )
                                                   )
15                          Defendant.             )
                                                   )
16
17                  Pursuant to Fed. R. Crim. P. 43(b)(2), defendant, Alex Lindberg, waives his right to appear
18   in person in open court upon the hearing of any motion or other proceeding in this case, including, but not
19   limited to, when the case is set for trial, when a continuance is ordered, and when any other action is
20   taken by the court before or after trial, except upon arraignment, plea, impanelment of jury, and
21   imposition of sentence. Mr. Lindberg requests the Court to proceed during every absence of his which
22   the Court may permit pursuant to this waiver; agrees that his interests will be represented at all times by
23   the presence of his attorney, the same as if defendant were personally present; and further agrees to be
24   present in court ready for trial any day and hour the Court may fix in his absence. The defendant
25   acknowledges that he has the right to be present at any and all hearings in this case.
26                  Mr. Lindberg further acknowledges that he has been informed of his rights under 18
27   U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes his attorney to set times and delays under that
28   Act without being present.


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 1
 2          The original signed copy of this waiver is preserved by Mr. Lindberg’s attorney.
 3
 4   DATE: December 2, 2010                                 /s/Alex Lindberg
                                                            ALEX LINDBERG
 5
 6
 7
     I agree with and consent to my client's waiver of appearance.
 8
 9
10
     DATE: December 2, 2010                                 /s/Ron Peters
11                                                          RON PETERS
                                                            Attorney for Defendant
12                                                          ALEX LINDBERG
13
     IT IS HEREBY ORDERED
14
15          1.      That Alex Lindberg’s appearance is waived in open court upon the hearing of any motion
16   or other proceeding in this case, including, but not limited to, when the case is set for trial, when a
17   continuance is ordered, and when any other action is taken by the court before or after trial, except upon
18   arraignment, plea, impanelment of jury, and imposition of sentence.
19
            IT IS SO ORDERED.
20
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22
     Date: December 3, 2010
23
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